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                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

                               )
DONALD J. TRUMP FOR PRESIDENT, )
INC.,                          )
                               )
                 Plaintiff,    )
                               )
           v.                  ) Civil Action No. 1:20-CV-1045-MLB
                               )
CNN BROADCASTING, INC.; CNN    )
PRODUCTIONS, INC.; and CNN     )
INTERACTIVE GROUP, INC.,       )
                               )
                 Defendants.   )
                               )


                                 ORDER

      For good cause shown, it is hereby ORDERED that Plaintiff’s Unopposed

Motion for Two Week Extension of Time to File Amended Complaint is

GRANTED. The deadline for Plaintiff’s Amended Complaint shall be December

14, 2020.

      SO ORDERED this 25th day of November, 2020.




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